                           1                                          EXHIBIT B

                           2                        COMPENSATION BY WORK TASK CODE FOR
                                                 SERVICES RENDERED MORRISON & FOERSTER LLP
                           3                FOR THE PERIOD FROM APRIL 1, 2020 THROUGH APRIL 30, 2020

                           4      Project                     Description                   Hours          Amount
                                 Category
                           5    C200         C200 RESEARCHING LAW                              0.40           $202.30
                                C312         C312 CLIENT COUNSEL -                             3.00          $2,516.03
                           6                 STAT/REG/JUDICIAL
                                P100         P100 PROJECT ADMINISTRATION                       5.70          $1,792.65
                           7    P210         P210 CORPORATE REVIEW                             2.40          $2,172.61
                                P300         P300 STRUCTURE/STRATEGY/ANALYSIS                119.10         $71,546.74
                           8    P400         P400 INITIAL DOCUMENT                             5.90          $2,405.50
                                             PREPARATION/FILING
                           9    Z032         Time Entry Review                                 1.20            $714.00
                                Total Incurred:                                               137.7          $81,349.83
                          10    Less Client Accommodation for Time Entry Review                 n/a           $(714.00)
                                (100% of Fees Incurred):
                          11    Total Requested:                                              137.7          $80,635.83
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Morrison & Foerster LLP

San Francisco, CA 94105




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   425 Market Street




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